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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JUAN MAYSONET,                               )
                                             )
               Plaintiff,                    )        Case No. 18 C 2342
                                             )
        vs.                                  )       Hon. Judge Mary M. Rowland
                                             )
REYNALDO GUEVARA, et al.,                    )
                                             )
               Defendants.                   )

       NON-PARTY JUSTINO CRUZ’S MOTION TO QUASH SUBPOENA

JUSTINO CRUZ, who is not a party in this action, by and through his attorneys of DVORAK

LAW OFFICES, LLC, hereby moves this Court to quash the subpoena served by the Defendants

in this case upon the Illinois Department of Corrections (“IDOC”) on December 6, 2019 (Exhibit

A). In support of his motion, Mr. Cruz states the following:

   1. On or about December 6, 2019, over the objections of the undersigned attorney, the

       Defendants in this action served a subpoena upon IDOC seeking the following documents

       (quoting from the rider):

               The complete file of JUSTINO CRUZ […] including, but not limited to: housing
               assignment and transfer documents; admissions, processing or placement records;
               documentation of gang affiliation; conduct and disciplinary records; incident
               reports; grievances; parole records; prisoner review board records; any
               documents, correspondence, memoranda or notes related to any requests for early
               release; administrative review board decisions; screening forms; contact
               deletion/addition determinations; visitor logs; visitation requests; telephone call
               logs; telephone contact list; documentation of any requests, denials or completion
               of any educational programs; documentation of any requests, denials, or
               assignment to any job or work duties; any and all documentation related to
               cellmates. This request expressly seeks not just the master file currently housed at
               this individual’s most recent parent institution, but all files kept by any prior
               parent institutions in connection with the incarceration for the double murder of
               the Wiley Brothers.

   2. A similar subpoena seeking records related to Alfredo Gonzalez was simultaneously
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      served upon IDOC. Counsel for Mr. Gonzalez have filed a motion to seeking to quash

      that subpoena (Dkt. 96). Mr. Cruz adopts and incorporates Mr. Gonzalez’s arguments

      here.

   3. Mr. Cruz asks that this subpoena be quashed as it violates Mr. Cruz’s privacy, seeks an

      overly-broad set of documents with no relevance to the claims and defenses in this

      lawsuit, and has no defined temporal parameters.

   4. Mr. Cruz is not a party to this action. To make the entire documentary record of his

      incarceration, from his work records to his grievances, to his call records, waters for a

      fishing expedition would violate his privacy rights and be unduly burdensome.

   5. In Simon v. Northwestern University, No. 1:15-CV-1433, 2017 WL 66818 (N.D. Ill. Jan.

      6, 2017), the court ruled that the defendant’s discovery request for the plaintiff’s phone

      calls over a lengthy time period unjustifiably invaded the plaintiff’s privacy interests. Id.

      at *4. Here, Mr. Cruz is a non-party and his privacy interests are all the more significant.

   6. Federal Rule of Civil Procedure 45(d) requires that a subpoena-issuing party take

      reasonable steps to avoid imposing an undue burden on a person subject to the subpoena.

      The Defendants here have taken no such reasonable steps.

   7. Mr. Cruz also fears that the overly broad subpoena will dredge up confidential medical

      information and/or attorney-client communications.

   Wherefore, for all of the reasons stated above, the Plaintiff asks that this Honorable Court

   quash the Defendants’ subpoena attached to this pleading as Exhibit A.



Dated: December 20, 2019                    Respectfully Submitted,




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                                    By:
                                            s/Adrian Bleifuss Prados
                                             Adrian Bleifuss Prados
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                               CERTIFICATE OF SERVICE

The undersigned, and attorney, certifies that on December 20, 2019, he caused the above
document to be served upon counsel of record via the Court’s electronic filing system.

                                            s/Adrian Bleifuss Prados
                                             Adrian Bleifuss Prados
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